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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     ATTORNEYS FOR DEBTOR

     In re:                                                      Chapter 11

     LTL MANAGEMENT LLC, 1                                       Case No.: 21-30589 (MBK)

                                Debtor.                          Judge: Michael B. Kaplan

     LTL MANAGEMENT LLC,
                    Plaintiff,

     v.                                                          Adv. No. 21-3032 (MBK)

     THOSE PARTIES LISTED ON APPENDIX A TO
     COMPLAINT and JOHN AND JANE DOES 1-1000,

                                Defendants.

                   NOTICE OF AMENDED AGENDA 2 OF MATTERS SCHEDULED
                        FOR HEARING ON JULY 26, 2022 AT 10:00 A.M.
 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.
 2
              Amended agenda items appear in bold.



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            At the direction of the Court, attendance may be in person or remotely via Zoom.
             All parties who intend to present argument remotely via Zoom should contact
           Chambers at chambers_of_mbk@njb.uscourts.gov and provide the name and email
             address of the speaker, as well as provide information regarding the party the
                        speaker represents and/or the purpose of the appearance.

              Parties are directed to https://www.njb.uscourts.gov/LTL for observing via Zoom.

 MATTERS GOING FORWARD IN THE BASE CASE

 1.      Travelers Casualty and Surety Company’s Motion for an Order Granting Relief From the
         Automatic Stay to Allow the NJ Coverage Action to Proceed [Dkt. 1488].

         Status: This matter is going forward.

         Statement Deadline: July 19, 2022 by 5:30 p.m., prevailing Eastern Time for any party
         wanting to docket statements in advance of the hearing.

         Related Documents:

         A.       Determination of Adjournment of Request Granted [Dkt. 1591].

         B.       Stipulation and Agreed Order Regarding Adjournment of New Jersey Coverage
                  Action Plaintiff-Insurers’ Motion for an Order (I) Confirming That the Automatic
                  Stay Does Not Apply to the New Jersey Coverage Action or, in the Alternative,
                  (II) Granting Relief From the Automatic Stay to Allow the New Jersey Coverage
                  Action to Proceed [Dkt. 1592] (the “NJ Coverage Action Stipulation”).

         C.       Reply Memorandum in Support of Travelers Casualty and Surety Company’s
                  Motion for an Order Granting Relief from the Automatic Stay to Allow the NJ
                  Coverage Action to Proceed [Dkt. 1869].

         D.       Order Regarding Motions of New Jersey Coverage Action Plaintiff-Insurers and
                  Travelers Casualty and Surety Company to Allow New Jersey Coverage Action to
                  Proceeding [Dkt. 2023] (the “Adjournment Order”).

         E.       Amended Order Regarding Motions of New Jersey Coverage Action Plaintiff-
                  Insurers and Travelers Casualty and Surety Company to Allow New Jersey
                  Coverage Action to Proceed [Dkt. 2424] (the “Amended Adjournment Order”).

         F.       June 27, 2022 Order Adjourning Matters [Dkt. 2609] (the “June Adjournment
                  Order”).

         G.       Agreed Order Extending Deadline for Written Submissions Related to Certain
                  Insurers’ Lift Stay Motions [Dkt. 2640] (the “Agreed Order”).

         H.       Travelers Casualty and Surety Company’s July 19, 2022 Letter to the Court
                  [Dkt. 2743] (the “Travelers Letter”).


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         Objections Received:

         I.       The Official Committee of Talc Claimants I Response in Opposition to
                  (1) Travelers Casualty and Surety Company’s Motion for an Order Granting
                  Relief From the Automatic Stay to Allow the NJ Coverage Action to Proceed and
                  (2) New Jersey Coverage Action Plaintiff-Insurers’ Motion for an Order
                  (I) Confirming That the Automatic Stay Does Not Apply to the New Jersey
                  Coverage Action or, in the Alternative, (II) Granting Relief From the Automatic
                  Stay to Allow the New Jersey Coverage Action to Proceed [Dkt. 1738]
                  (the “TCC I Stay Objection”).

         J.       Debtor’s Omnibus Objection to Insurers’ Motions for Relief From the Automatic
                  Stay [Dkt. 1739] (the “Debtor’s Stay Objection”).

         K.       The Official Committee of Talc Claimants Statement Regarding (1) Travelers
                  Casualty and Surety Company’s Motion for an Order Granting Relief From the
                  Automatic Stay to Allow the NJ Coverage Action to Proceed and (2) New Jersey
                  Coverage Action Plaintiff-Insurers’ Motion for an Order (I) Confirming That the
                  Automatic Stay Does Not Apply to the New Jersey Coverage Action or, in the
                  Alternative, (II) Granting Relief From the Automatic Stay to Allow the New
                  Jersey Coverage Action to Proceed [Dkts. 2735, 2753] (the “TCC Statement”).

         L.       Debtor’s Statement Regarding Insurers’ Motions for Relief From the Automatic
                  Stay [Dkt. 2738] (the “Debtor’s Statement”).

 2.      Motion by the New Jersey Coverage Action Plaintiff-Insurers for an Order
         (I) Confirming That the Automatic Stay Does Not Apply to the New Jersey Coverage
         Action or, in the Alternative, (II) Granting Relief From the Automatic Stay to Allow the
         New Jersey Coverage Action to Proceed [Dkt. 1491].

         Status: This matter is going forward.

         Statement Deadline: July 19, 2022 by 5:30 p.m., prevailing Eastern Time for any party
         wanting to docket statements in advance of the hearing.

         Related Documents:

         A.       Adjournment Request [Dkt. 1589].

         B.       NJ Coverage Action Stipulation.

         C.       New Jersey Coverage Action Plaintiff-Insurers’ Omnibus Reply in Further
                  Support of Motion for an Order (I) Confirming That the Automatic Stay Does Not
                  Apply to the New Jersey Coverage Action or, in the Alternative, (II) Granting
                  Relief From the Automatic Stay to Allow the New Jersey Coverage Action to
                  Proceed [Dkt. 1866].

         D.       The Adjournment Order.


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         E.       The Amended Adjournment Order.

         F.       New Jersey Coverage Action Plaintiff-Insurers’ Statement and Reservation of
                  Rights Regarding Motion for an Order (I) Confirming That the Automatic Stay
                  Does Not Apply to the New Jersey Coverage Action or, in the Alternative,
                  (II) Granting Relief From the Automatic Stay to Allow the New Jersey Coverage
                  Action to Proceed [Dkt. 2449].

         G.       The June Adjournment Order.

         H.       The Agreed Order.

         I.       New Jersey Coverage Action Plaintiff-Insurers’ Supplemental Reply in Further
                  Support of Motion for an Order (I) Confirming That the Automatic Stay Does Not
                  Apply to the New Jersey Coverage Action or, in the Alternative, (II) Granting
                  Relief From the Automatic Stay to Allow the New Jersey Coverage Action to
                  Proceed [Dkt. 2737].

         J.       The Travelers Letter.

         Objections Received:

         K.       TCC I Stay Objection.

         L.       Debtor’s Stay Objection.

         M.       The TCC Statement.

         N.       The Debtor’s Statement.

 3.      Motion by Movant Anthony Hernandez Valadez for an Order Granting Relief From the
         Preliminary Injunction to Allow Him to File His Asbestos Personal-Injury Action in
         California State Court, or, in the Alternative, (II) Conduct Discovery, and (III) Waiving
         the Fourteen Day Stay Under Federal Rule of Bankruptcy Procedure 4001(a)(3)
         [Dkt. 2348].

         Status: This matter is going forward.

         Objection Deadline: June 7, 2022

         Related Documents:

         A.       Movant’s Reply to Debtor’s Objection to His Motion for an Order Granting Relief
                  From the Preliminary Injunction or, in the Alternative, Conduct Discovery, and
                  Waiving the Fourteen Day Stay Under Federal Rule of Bankruptcy
                  Procedure 4001(a)(3) [Dkt. 2469].




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         B.       Maune Raichle Hartley French & Mudd, LLC’s Joinder in Support of Motions by
                  Anthony Hernandez Valadez and Audra Johnson for an Order Granting Relief
                  From the Preliminary Injunction [Dkt. 2484] (the “MRHFM Joinder”).

         C.       The June Adjournment Order.

         Objections Received:

         D.       Debtor’s Omnibus Objection to Anthony Hernandez Valadez’s and Audra
                  Johnson’s Motions Seeking Relief From the Preliminary Injunction and Certain
                  Related Relief [Dkt. 2429] (the “Debtor’s Omnibus Objection”).

 4.      Motion by Movant Audra Johnson for an Order Granting Relief From the Preliminary
         Injunction to Allow Her to File an Asbestos Personal-Injury Action in California State
         Court, or, in the Alternative, (II) Conduct Discovery, and (III) Waiving the Fourteen Day
         Stay Under Federal Rule of Bankruptcy Procedure 4001(a)(3) [Dkt. 2349].

         Status: This matter is going forward.

         Objection Deadline: June 7, 2022

         Related Documents:

         A.       Movant’s Reply to Debtor’s Objection to Her Motion for an Order Granting
                  Relief From the Preliminary Injunction or, in the Alternative, Conduct Discovery,
                  and Waiving the Fourteen Day Stay Under Federal Rule of Bankruptcy
                  Procedure 4001(a)(3) [Dkt. 2470].

         B.       The MRHFM Joinder.

         C.       The June Adjournment Order.

         Objections Received:

         D.       The Debtor’s Omnibus Objection.

 5.      Arguments as to the Merits of a Claims Estimation Hearing.

         Status: This matter is going forward.

         Statement Deadline: July 15, 2022

         Related Documents:

         A.       Official Committee of Talc Claimants’ Status Report Dated June 10, 2022
                  [Dkt. 2465] (the “TCC Status Report”).

         B.       Debtors’ Statement on Proposed Next Steps in Chapter 11 Case [Dkt. 2473].


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         C.       Official Committee of Talc Claimants’ Limited Response to Debtor’s Status
                  Report Dated June 10, 2022 [Dkt. 2488].

         D.       The June Adjournment Order.

         E.       The Agreed Order.

         Statements Received:

         F.       Paul Crouch, Individually and as Executor and as Executor ad Prosequendum of
                  the Estate of Cynthia Lorraine Crouch Objection to Estimation Proceeding
                  [Dkt. 2715].

         G.       Arnold & Itkin LLP’s Statement Regarding the Estimation of Talc Personal Injury
                  and Wrongful Death Claims [Dkt. 2716].

         H.       Maune Raichle Hartley French & Mudd, LLCs’ Opposition to Estimation and
                  Proposed Next Steps in Case [Dkt. 2717].

         I.       Limited Objection and Reservation of Rights of Travelers Casualty and Surety
                  Company and Certain Other Insurers Regarding Estimation Proceedings and
                  Bellwether Trials [Dkt. 2720].

         J.       Official Committee of Talc Claimants’ Statement in Opposition to Debtor’s
                  Request for Estimation Under Section 502(c) of the Bankruptcy Code and
                  Statement on Proposed Next Steps in Chapter 11 Case [Dkt. 2722].

         K.       Response of Aylstock, Witkin, Kreis & Overholtz, PLLC in Opposition to
                  Estimation Request in Debtor’s Status Report [Dkt, 2723].

         L.       Position Statement of Randi S. Ellis, Legal Representative for Future Talc
                  Claimants Regarding Future Case Proceedings [Dkt. 2724] (the “FCR Position
                  Statement”).

         M.       Debtor’s Memorandum on the Need for Estimation [Dkt. 2726].

         N.       Debtor’s Reply in Support of the Need for Estimation [Dkt. 2769].

         O.       Official Committee of Talc Claimants’ Statement in Response to Debtor’s
                  Reply in Support of the Need for Estimation [Dkt. 2771].

 CONTESTED MATTERS GOING FORWARD IN THE BASE CASE AND
 ADVERSARY PROCEEDING

 6.      Memorandum Opinion Granting Preliminary Injunction and Resolving Adversary
         Proceeding in Debtor’s Favor [Adv. Pro. Dkt. 184, Dkt. 1573] and Order (I) Declaring
         That Automatic Stay Applies to Certain Actions Against Non-Debtors and
         (II) Preliminarily Enjoining Certain Actions [Adv. Pro. Dkt. 187, Dkt. 1635].


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         Status: The hearing with respect to the continuation of the automatic stay and
         preliminary injunction is going forward.

         Response Deadline: July 19, 2022

         Related Documents:

         A.       The TCC Status Report.

         B.       The June Adjournment Order.

         C.       The Official Committee of Talc Claimants’ June 30, 2022 Letter to the Court
                  [Dkt. 2637].

         Statements Received:

         D.       Opposition of Aylstock, Witkin, Kreis & Overholtz, PLLC to Continuation of
                  Preliminary Injunction and Stay of Actions Against Non-Debtors [Adv. Pro.
                  Dkt. 256].

         E.       Objection of Paul Crouch, Individually and as Executor and as Executor ad
                  Prosequendum of the Estate of Cynthia Lorraine Crouch, to Continuing the
                  Preliminary Injunction Entered in this Matter in Favor of Non-Debtor
                  Johnson & Johnson [Dkt. 2558] (the “Crouch Objection”).

         F.       Maune Raichle Hartley French & Mudd, LLC’s Objection to Extending
                  Preliminary Injunction to Non-Debtor Johnson & Johnson [Dkt. 2564]
                  (the “MRHFM PI Objection”).

         G.       Exhibit in Support of MRHFM PI Objection [Dkts. 2565, 2569].

         H.       Statement of the Official Committee of Talc Claimants in Support of the Court’s
                  Modifying Upon Revisiting of the PI Order [Dkt. 2566] (the “TCC PI
                  Statement”).

         I.       Opposition of Aylstock, Witkin, Kreis & Overholtz, PLLC to Continuation of
                  Preliminary Injunction and Stay of Actions Against Non-Debtors [Dkt. 2568].

         J.       Debtor’s Response to Statements and Objections Regarding Continuance of the
                  Preliminary Injunction [Adv. Pro. Dkt. 257, Dkt. 2631].

         K.       Kimberly Naranjo’s Joinder to the Objections to the Continuation of the
                  Injunction as to Johnson & Johnson Filed on Behalf of the Talc Claimants’
                  Committee and Others [Dkt. 2646].

         L.       Reply in Support of Crouch Objection [Dkt. 2709].

         M.       Reply in Support of MRHFM Objection [Dkt. 2711].


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         N.       The FCR Position Statement.

         O.       Reply of Anthony Valadez in Support of Objection to Continuing the Preliminary
                  Injunction to Non-Debtors [Dkt. 2736].

         P.       Reply of Audra Johnson in Support of Objection to Continuing the Preliminary
                  Injunction to Non-Debtors [Dkt. 2739].

         Q.       Reply of Kristie Lynn Doyle in Support of Objection to Continuing the
                  Preliminary Injunction to Johnson & Johnson [Dkt. 2745].

         R.       Reply in Support of TCC PI Statement [Adv. Pro. Dkt. 260, Dkt. 2751].



  Dated: July 25, 2022                             WOLLMUTH MAHER & DEUTSCH LLP

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